                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                                   No. 04-CR-25-LRR
 vs.                                                             ORDER
 REBECCA SUE WORTH,
               Defendant.



       The matter before the court is Defendant Rebecca Sue Worth’s “Motion for Downward
Departure to Include Sentence Modification” (“Motion”) (docket no. 171), which the clerk’s
office filed on March 18, 2013. The statutes that Defendant identifies, 18 U.S.C. §§ 3553(a)
and 3582(a), do not authorize the court to grant her relief. Further, Defendant does not rely
on any other rule or statute that authorizes the court to alter judgment, and the court is not
aware of any law that permits it to modify her sentence under the circumstances. Accordingly,
the Motion is DENIED. The clerk’s office is DIRECTED to send a copy of this Order to
Defendant.
       IT IS SO ORDERED.
       DATED this 19th day of March, 2013.




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